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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

IN RE:

20-13103-MAM
Hals Realty Associates LP

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I
|
DEBTOR. I JUDGE: Mindy A. Mora
I
I
|

 

CHAPTER 11

CHAPTER 11 TRUSTEE'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

FOR THE PERIOD

FROM 10/01/2020 TO 10/31/2020

Comes now Michael Goldberg, as Chapter 11 Trustee of the above-named debtor and files its Monthly
Operating Report in accordance with the Guidelines established by the United States Debtor and FRBP
2015.

Trustee's Address: /s/ Eyal Berger
Michael Goldberg, Trustee for Hals
Associates LP

201 East Las Olas Blvd.

 

Attorney for Trustee's Signature

Suite 1800 Attorney's Address and Phone Number
Fort Lauderdale, FL 33301 Eyal Berger
954-463-2700 Akerman LLP

201 E Las Olas Bivd, Suite 1800
Fort Lauderdale, FL 33301
954-463-2700

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Debtor Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the
United States Debtor Program Website, http:/Avww.usdoj.gov/ust/r21/index.htm.

1) Instructions for Preparations of Debtor's Chapter 11 Monthly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs) http:/Avww.usdoj.gov/ust/.

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SCHEDULE OF RECEIPTS AND DISBURSEMENTS
FOR THE PERIOD BEGINNING 10/01/2020 AND ENDING 10/31/2020

 

 

 

 

 

 

 

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Date of Petition: 3/5/2020
CURRENT CUMULATIVE
MONTH PETITION TO DATE
4. FUNDS AT BEGINNING OF PERIOD (Note 1) 3,058,354.72 (a) $ 2,141,208.54 (b)
RECEIPTS:
A. Revenue 131,427.94 945,831.33
Net Cash Sales 131,427.94 945,831.33
B. Accounts Receivable = -
C. Other Receipts (See MOR-3) 1,008.76 424,336.92

 

(If you receive rental income,
you must attach rent roll.)

 

 

3. TOTAL RECEIPTS (Lines 2A+2B+2C) 132,436.70 1,370,168.25
4, TOTAL FUNDS AVAILABLE FOR
OPERATIONS (Line 1 + Line 3) 3,190,791.42 3,511,376.79

 

6. DISBURSEMENTS

Advertising - -
Bank Charges 81.25 229.49
Contract Labor - -
Fixed Asset Payments (not incl. in "N") - “
Insurance - 27,747.00
Inventory Payments - -
Leases - -
Manufacturing Supplies - -
Office Supplies - -
Payroll - -
Professional Fees (Accounting & Legal) - -
Rent - -
Repairs & Maintenance - 640.00
Secured Creditor Payments (See Attach. 2) 32,100.00 237,183.34
Taxes Paid - Payroll - -
Taxes Paid - Sales & Use 7,407.73 54,193.89
Taxes & Licenses - -
Telephone & Internet - -
Travel & Entertainment - -

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

S<CxMMOVOZECFAL -TOMMIOD>

 

 

U.S. Trustee Quarterly Fees 975.00 2,600.73
Utilities - -
Other Business Expense 15.11 106.12
. Other Disbursements (See MOR-3) - 38,463.89
6. TOTAL DISBURSEMENTS (Sum of 5A thru W) 40,579.09 361,164.46
7. ENDING BALANCE (Line 4 Minus Line 6) $ 3,150,212.33 (ce) §$ 3,150,212.33 (c)

 

     
  

| declare under penalty of perjury that this statement and the accompanying do. correct to the best

of my knowledge and belief.

This 20th day of October 2020

 

(a) This number is carried forward from last month's report. For the first report only, this nu
balance as of the petition date.

(b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
the petition.

(c)These two amounts will always be the same if form is completed correctly.

Note 1: An adjustment was made to the reported beginning balance as of the petition date to account for the certificates
of deposits ("CDs"). The previous monthly operating reports identified the CDs on Attachment 4D, but did not include the
funds on the Schedule of Receipts and Disbursements.

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MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont'd)
Detail of Other Receipts and Other Disbursements

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.
Cumulative
Description Current Month Petition to Date

Love Realty Walking Street LLC $ - $ 38,463.89
Hal Realty (DB #4546) - 95,370.32
Furr Cohen - Debtor's funds held in trust - 287,825.40
Interest Income from CDs 1,008.76 2,677.31
TOTAL OTHER RECEIPTS $ 1,008.76 $ 424,336.92

 

“Other Receipts" includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties,
directors, related corporations, etc.) Please describe below:

 

 

 

 

 

 

 

 

 

 

Loan Amount Source of Funds Purpose Repayment Schedule
OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line SW.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cumulative
Description Current Month Petition to Date
Love Reality Walking Street LLC - 38,463.89
TOTAL OTHER DISBURSEMENTS $ : $ 38,463.89

 

 

NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement. *

**The Trustee is maintaining the books and records on a cash basis, therefore there is no balance sheet and the income statement reflects the
receipts and disbursements per the MOR

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ATTACHMENT 1
MONTHLY ACCOUNTS RECEIVABLE RECONGILIATION AND AGING

Name of Debtor: Hals Realty Associates LP Case Number. 20-13103-MAM

Reporting Period beginning 10/01/2020 and ending 10/31/2020

ACCOUNTS RECEIVABLE AT PETITION DATE: NIA

ACCOUNTS RECEIVABLE RECONCILIATION
(include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):

Beginning of Month Balance: $ 152,373 (a)
PLUS: Current Month New Billings $ -
MINUS: Collections During the Month $ -__)
PLUS/MINUS: Adjustments of Write-offs $ -_*

End of Month Balance $ 152,373 (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:
June AR was not recognized

POST PETITION ACCOUNTS RECEIVABLE AGING
(Show the total amount for each aging category for all accounts receivable)

0-30 Days 31-60 Days 61-90 Days Over 90 Days Total
$ - $ = $ : $ 152,373 $ 152,373 (c)

For any receivables in the “Over 90 Days" category, please provide the following:

Receivable Status (Collection efforts taken, estimate of collectability, write-
Cu e Date off, disputed account, etc.)
Tourneau 2/18/2020 Tenant remitting partial paymemt. due to Covid-19

 

 

 

 

 

(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of the
petition date.

(b) This must equal the number reported in the "Current Month” column of Schedule of Receipts and Disbursements (Page
MOR-2, Line 2B).

(c) These two amounts must equal.

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ATTACHMENT 2
MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Reporting Period beginning 10/01/2020 and ending 10/31/2020

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts
owed prior to filing the petition. In the alternative, a computer generated list of payables may be attached provided all
information requested below is included.

POST-PETITION ACCOUNTS PAYABLE

 

 

 

 

 

 

 

Date Days
Incurred Outstanding Vendor Description Amount
$ -
TOTAL AMOUNT $ -___(b)

 

[_ ]check here is pre-petition debts have been paid. Attach an explanation and copies of supporting

documentation.

 

ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only):

 

 

 

 

Opening balance $ - (a)
PLUS: New Indebtedness Incurred This Month $ -
MINUS: Amount Paid on Post Petition,

Accounts Payable This Month $ -
PLUS/MINUS: Adjustments $ ” *
Ending Month Balance $ - (c)

 

*For any adjustments provided explanation and supporting documentation, if applicable.

 

SECURED PAYMENTS REPORT

List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification
agreement with a secured creditorflessor, consult with your attorney and the United States Trustee Program prior to
completing this section.

Number of

 

 

 

 

 

 

Secured Date Payment Amount Post Petition Total Amount of
Creditor / Due This Paid This _ Post Petition Payments
Lessor Month Month Payments Delinquent
—_— ——— — Delinquent
Bank of America 10/20/2020 32,100.00 0
TOTAL $ 32,100.00 (d)

(a) This number is carried from last month's report. For the first report only, this number will be zero.
(b,c)The total of line (b) must equal line (c).
(d)This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).

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INVENTORY AND FIXED ASSET REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

Reporting Period beginning 10/01/2020 and ending 10/31/2020
INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE: N/A
INVENTORY RECONCILIATION:
Inventory Balance at Beginning of Month
PLUS: Inventory Purchased During Month
MINUS: Inventory Used or Sold
PLUS/MINUS: Adjustments or Write-downs
Inventory on Hand at End of Month

-___{a)

 

 

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t

 

METHOD OF COSTING INVENTORY:

 

 

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

 

 

 

 

INVENTORY AGING
Less than 6 6 months to Greater than Considered
months old 2 years old 2 years old Obsolete Total Inventory
100.00% 0.00% 0.00% 0.00% = 100% *
*Aging Percentages must equal 100%
[]Check here if inventory contains perishable items.
Description of Obsolete Inventory:
FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE: N/A (b)

 

(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION: (First Report Only):

 

 

 

FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month
MINUS: Depreciation Expense
PLUS: New purchases
PLUS/MINUS: Adjustments or Write-downs
Ending Monthly Balance

649,839 (a){b)

 

 

471 £9 169 1H 169

- 649,839

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:

 

 

(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of
the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.

Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.

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ATTACHMENT 4A
MONTHLY SUMMARY OF BANK ACTIVITY
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 10/01/2020 and ending 10/31/2020
Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required by the United States Trustee Program are necessary,

permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

 

 

 

NAME OF BANK: Iberia Bank BRANCH:
ACCOUNT NAME:  Hals Realty Associates ACCOUNT NUMBER: 6243
PURPOSE OF ACCOUNT:
Ending Balance Per Bank Statement $ 84,408.85
Plus Total Amount of Outstanding Deposits $ :
Minus Total Amount of Outstanding Checks and other debits $ -__*
Minus Service Charges $ :
Ending Balance Per Check Register $ 84,408.85 **(a)
*Debit cards are used by
*If Closing Balance is negative, provide explanation:
The following disbursements were paid in Cash (do not include Items reported as Petty Cash on Attachment 4D:
(]eneck here if cash disbursements were authorized by United States Trustee)
Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits", listed above includes:

$ - Transferred to Payroll Account
$ - Transferred to Tax Account

 

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

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ATTACHMENT 5A

CHECK REGISTER
Name of Debtor: Hails Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 10/01/2020 and ending 10/31/2020

 

 

 

NAME OF BANK: Iberia Bank BRANCH:
ACCOUNT NAME: Hals Realty Associates

ACCOUNT NUMBER: 6243

PURPOSE OF ACCOUNT:

 

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.

Check

Number Payee Purpose Amount

Date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL $ -

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ATTACHMENT 4B

MONTHLY SUMMARY OF BANK ACTIVITY
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 10/01/2020 and ending 10/31/2020
Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required by the United States Trustee Program are necessary,

permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

NAME OF BANK: —_Bank of America BRANCH:
ACCOUNT NAME: Hals Realty Associates LP ACCOUNT NUMBER: 0435
PURPOSE OF ACCOUNT:

548,873.22

Ending Balance Per Bank Statement

Plus Total Amount of Outstanding Deposits

Minus Total Amount of Outstanding Checks and other debits
Minus Service Charges

Ending Balance Per Check Register

*

Pile |

"848,873.22 **(a)

*Debit cards are used by

 

“If Closing Balance is negative, provide explanation:

 

The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
(]check here if cash disbursements were authorized by United States Trustee)

Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above includes:

$ - Transferred to Payroll Account
$ - Transferred to Tax Account

 

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

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ATTACHMENT 6B

CHECK REGISTER
Name of Debtor: Hais Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 10/01/2020 and ending 10/31/2020

 

 

 

NAME OF BANK: Bank of America BRANCH:
ACCOUNT NAME: Hals Realty Associates LP

ACCOUNT NUMBER: 0436

PURPOSE OF ACCOUNT:

 

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.

Check

Number Payee Purpose Amount

Date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL $ -

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ATTACHMENT 4¢

MONTHLY SUMMARY OF BANK ACTIVITY

 

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

Reporting Period beginning 10/01/2020 and ending 10/31/2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r21/index.him. If bank accounts other than the three required by the United States Trustee Program are necessary,
permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

 

 

 

NAME OF BANK: City National bank BRANCH:
ACCOUNT NAME: _ Hals Realty Associates LP ACCOUNT NUMBER: 1273
PURPOSE OF ACCOUNT:
Ending Balance Per Bank Statement $ 1,460,361.75
Plus Total Amount of Outstanding Deposits $ 26,280.83
Minus Total Amount of Outstanding Checks and other debits $ -_*
Minus Service Charges $ :
Ending Balance Per Check Register $ 1,486,642.58 **(a)
“Debit cards are used by
“if Closing Balance is negative, provide explanation:
The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
([]check here if cash disbursements were authorized by United States Trustee)
Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above includes:

$ - Transferred to Payroll Account
$ : Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as “Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

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ATTACHMENT 6¢C
CHECK REGISTER
Name of Debtor: Hals Realty Associates LP Case Number.

Reporting Period beginning 10/01/2020 and ending 10/31/2020

 

 

 

NAME OF BANK: City National bank BRANCH:
ACCOUNT NAME: Hats Realty Associates LP

ACCOUNT NUMBER: 1273

PURPOSE OF ACCOUNT:

 

20-13103-MAM

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can

be attached to this report, provided all the information requested below is included.

Check

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Date Number Payee Purpose Amount
10/15/2020 U.S. Trustee Qtrly Fees 975.00
10/15/2020 Fla Dept Revenue Sales Taxes 7,407.73
10/15/2020 City National Bank Bank Fees 81.25
10/26/2020 1009 Love Realty Walking Street LLC FedEx reimbursement 15.11
10/26/2020 1008 Bank of America Mortgage 32,100.00

TOTAL $ 40,579.09
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ATTACHMENT 4D

INVESTMENTS ACCOUNTS AND PETTY CASH REPORT

 

INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should
be listed separately. Attach copies of account statements. (Note 1)

 

 

 

 

 

 

Type of Negotiable
Current
Instrument Face Value Purchase Price Date of Purchase Market Value
CD - FCB xx6965 $ - $ - $ 61,759.84
CD - IB xx6865 968 527.84
TOTAL $ 1,030,287.68 (a)

PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

 

 

 

(Column 2) (Column 3) (Column 4)

Maximum Amount Amount of Petty Difference between
Location of of Cash in Drawer/ Cash On Hand At (Column 2) and
Box/Account Acct. End of Month (Column 3)

$ : $ - $ -
TOTAL $ x (b)

For any Petty Cash Disbursement over $100 per transaction, attach copies of receipts. If there are no receipts,
provide an explanation

 

 

 

TOTAL INVESTMENT ACCOUNTS AND PETTY CASH (a + b) $ 1,030,287.68 (c)

(c) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as "Ending
Balance" on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).

Note 1: Account statements were not made available. The reported account value was provided by the banks’
representatives.

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ATTACHMENT 6

MONTHLY TAX REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Reporting Period beginning 10/01/2020 and ending 10/31/2020
TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales tax, property tax,
unemployment tax, State workmen's compensation, etc.

 

 

 

 

 

 

 

 

 

 

 

Name of Taxin Dato. Date Last Tax
Authority Fayiment Description Amount “Return Filed Tax Return Period
TOTAL $ .

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ATTACHMENT 7

SUMMARY OF OFFICER OR OWNER COMPENSATION
SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

Reporting Period beginning 10/01/2020 and ending 10/31/2020

Record all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments to retirement plans, toan

Tepayments, payments of Officer/Owner’s persona! expenses, insurance premium payments, etc. Do not include reimbursement of business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.

 

 

 

 

 

 

 

 

 

 

 

 

Name of Officer or Qwner Title Payment Description Ameunt Paid
PERSONNEL REPORT
Full Time Part Time
Number of employees at beginning of period 0 0
Number hired during the period 0 0
Number terminated or resigned during period 0 0
Number of employees on payroll at end of period 0 0

 

 

 

 

CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers’ compensation, liability, fire, theft, comprehensive, vehicle, health and life. For the first report, attach a
copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during the month (new
carrier, increased policy limits, renewal, etc.}.

 

 

 

 

 

 

 

 

 

 

 

 

; Phone ; Expiration Date Premium
Agent and/or Carrier Number Policy Number Coverage Type Date Due

Westchester Fire Insurance Co 561-622-2550 042248976002 Property 02/01/21 NVA
Wright National Flood Ins Co 1-800-820-3242 1151026975 Flood 10/14/21 NIA
Wright National Flood ins Co 1-800-820-3242 1151261809 Flood 08/15/21 NIA
Wright National Flood ins Co 4-800-820-3242 1151261808 Flood 08/15/21 WA
The following lapse in insurance coverage occurred this month:

Policy Date .

Type Lapsed Date Reinstated Reason for Lapse

 

 

 

 

[check here If U.S. Trustee has been listed as Certificate Holder for all Insurance policies.

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ATTACHMENT 8

SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Name of the Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 10/01/2020 and ending 10/31/2020

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on this report,
such as the sale of real estate (attach closing statement ); (2) non-financial transactions, such as the substitution of assets or
collateral; (3) modifications to loan agreements; (4) change in senior management, etc.

Attach any relevant documents.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BANK OF AMERICA “4
PRIVATE BANK

P.O, Box 16284
Wilmington, DE 19850

Vg agen! ef poeeg | EC agpefegetyg tat ggg lag El fegeg deepened
AJ 1110 0 O78 777 10942 #601 AV 0.389

HALS REALTY ASSOCIATES LP
DEBTOR IN POSSESSION CASE
NO 20-13103-MAM ACCOUNT
411 S COUNTY RD STE 201

PALM BEACH, FL 33480-6714

Your Business Advantage Checking
for October 1, 2020 to October 31, 2020
HALS REALTY ASSOCIATES LP DEBTOR IN POSSESSION CASE

Account summary

Beginning balance on October 1, 2020 $1,014,138.98

Deposits and other credits 34,734.24
Withdrawals and other debits -0.00
Checks -500,000.00
Service fees -0.00
Ending balance on October 31, 2020 $548,873.22

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un!

Client service information

1.800.878.7878

bankofamerica.com/privatebank

Bank of America, N.A.
P.O. Box 25118
Tampa, FL 33622-5118

Account number: (0435

NO 20-13103-MAM ACCOUNT

# of deposits/credits: 1

# of withdrawals/debits: 1

# of items-previous cycle’: O

# of days in cycle: 31

Average ledger balance: $999,365.66

‘includes checks paid,deposited items&other debits

important disclosure information listed on the “Important Information for Bank Deposit Accounts" page.

PULL E CYCLE:53 SPEC: 0 DELIVERY: P TYPE: IMAGE:! BC: JAX

~~ Page 1 of 6
HALS REALTY ASSOCIATESI@SE Rdck3d GMEM435D00d86 1, coned O26242 bo2oPage 18 of 22

IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS

How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

   

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

ectronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you eed | more infornation about an elecrante transfer ie g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and nurnber listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

- Tell us your name and account number.

- Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
or why you need more information.

- Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts client) (20
business days if you are a new client, for electronic transfers occurring during the first 30 days after the first deposit is made
to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will have
use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreernent (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.

Banking products are provided by Bank of America, N.A., and affiliated banks, Members FDIC and wholly owned subsidiaries of
Bank of America Corporation.

Bank of America Private Bank is a division of Bank of America, N.A., Member FDIC, and a wholly-owned subsidiary of Bank of
America Corporation (“BofA Corp.”).
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Bank of America, N.A. Member FDIC and {=} Equal Housing Lender

Page 2 of 6
Case 20-13103-MAM Doc166 Filed 02/02/21 Page 19 of 22 ara

BANK OF AMERICA Your checking account E&

PRIVATE BANK

HALS REALTY ASSOCIATES LP | Account To: | October 1, 2020 to October 31, 2020

Deposits and other credits

Date Description Amount

10/02/20 TOURNEAU DES:PAYABLES 1D:014573 INDN:HALS REALTY ASSOCIATES CO 34,734.24
1D:1208540199 PPD

Total deposits and other credits $34,734.24

Checks

Date Check # Amount

1029/20 1 500,000.00

Total checks -§500,000.00

Total # of checks 1

Daily ledger balances

Date ‘ Balance ($} Date Balance($) Date Balance ($)

10/01 _1,014,138.98 10/02 1,048,873.22 10/29 548,873.22

Page 3 of 6
3 Case 20-13103-MAM Doc 166 Filed 02/02/21 SPATE MERT OF ACCOUNT

BI iR [Al 4 \ Nk . Date 10/30/20 Page 1 of 3

 
  

 

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T75 P3 **AUTOS-DIGIT 33401 B3 119791-1-17-4 - 29462

ee HALS REALTY ASSOCIATES
&: C/O WALKING STREETS
o2s462 PQ BOX 2528

PALM BEACH FL 33480

es ©

 

PLEASE CONTACT YOUR
RELATIONSHIP MANAGER
WITH ANY QUESTIONS
OR CALL

1-800-968-0801
24-hr Online Banking

 

 

 

 

 

nf — iberiabank.com
029482 -
FREE BUSINESS CHECKING ACCOUNT NUMBER *******6243
Previous Balance 213,995.98 Statement Dates 10/01/20 thru 11/01/20
1 Deposits/Credits 70,412.87 Days this Statement Period 32
1 Checks/Debits 200,000.00 Average Ledger Balance 206,247.99
Service Charge 00 Average Collected Balance 206,247.99
Interest Paid 60
Current Balance 84,408.85
DEPOSITS AND CREDITS
Date Description Amount
10/28 PAYMENT JPMORGAN CHASE B 70,412.87
CCD HALS REALTY ASSOCIATES
CHECKS IN NUMERICAL ORDER
Date Check No Amount
10/30 1276 200,000.00
(*) Check Numbers Missing
DAILY BALANCE INFORMATION
Date Balance Daie Balance Date Balance
10/01 213,995.98 10/28 284 408.85 10/30 84,408.85

 

Please examine this statement upon receipt and report at once if you find any difference.

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Case 20-13103-

 

BEIRIABANK: P22 roo

 

THIS FORM IS PROVIDED TO HELP YOU BALANCE

YOUR BANK STATEMENT
CHECKS OUTSTANDING-NOT BANK BALANCE SHOWN
CHARGED TO ACCOUNT ONTHIS STATEMENT $
$
ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
(IF ANY) $
TOTAL $
SUBTRACT—
CHECKS OUTSTANDING $--
BALANCE §

 

SHOULD AGREE WITH YOUR CHECK BOOK BALANCE
AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT,

NOTE

Please make sure you have entered in your
check register all automatic transactions,
such as charges and interest earned, shown
on the front of this statement.

 

Please examine immediately and report if incorrect. If no reply is
received within 30 days the account will be considered correct.

 

 

 

Member In Case of Errors or Questions About Your Electronic Transfers
TELEPHONE US AT: 1-800-682-3231 OR
WRITE US AT: P. 0. BOX 7299, Little Rock, AR 72217-7299 ———
LENDER

As soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt.
We must hear from you no later than 60 days after we sent you the FERST statement on which the problem appeared.

T)fetl us your name and account number,

2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you befieve there is an error or why you need more information.

3) Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. if we take more than ten business days to do this, we will credit your account for the amount you think is In error, so that you will have
use of the money during the time it takes us to complete our investigation. This Regulation E error resolution natice is only applicable to consumer accounts. A consumer account is defined as an account
used primarily for personal, family and household purposes.

LIRE OF CREDIT ACCOUNT INFORMATION

Refer to the Line of Credit section of this statement. We figure the finance charge on your account by applying the periodic rate to the “Average Daily Balance” of your account (induding current transactions).
To get the “Average Daily Balance” we take the beginning balance of your account each day, add any new advances, and subtract any payments or credits, This qives us the dally balance. We then add up

all the daily balances for the billing cycle and divide the total by the number of days in the billing cycle. This qives us the “Average Daily Balance” We then multiply this Average Daily Balance by the daily
periodic rate that has been established for your Account (shown on your statement along with the corresponding annual percentage rate) and then we multiply the product by the number of days in the
billing cycle. The result is the dollar figure shown on your statement as “Finance Charge” Finance Charges for advances on your line will begin to accrue on the date such advances ate posted fo your account
and will continue until the date your account is paid in full. There is no grace period that would allow you to aveid a finance charge en your account. On the closing date of your billing cycle, we will calculate
the amount of your minimum payment due as per your original contract. We figure this minimum payment by calculating a percentage of the New Balance of your account (less any amount you have writ-
ten to us to dispute that we are currently investigating). “New Balance” means the total outstanding balance of your line on any cycle dosing date which includes principal. Ifthe New Balance is less than
of equal tothe minimum payment required on your account, your minimum payment will be the entire New Balance (less any disputed amount), plus finance charges and other fees, If you have elected to
make equal or level payments on your Account, your minimum payment will be calculated accordingly. The amount of your minimum payment is disdosed to you an this statement and will be automatically
deducted from your checking account. Ifyou wish to make payments in addition to those which are automatically deducted from your checking account, you may do so at any time. Payments may be mailed
to the address shown on the statement, Attn.: Loan Accounting. Additional payments which are mailed to that address will be credited to yur account as of the date of receipt. Payment made at any branch
Office will be credited promptly to your account, but in no event later than 5 days after receipt.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR LINE GF CREDIT ACCOUNT STATEMENT
Hyou think your bill Is wrong, or if you need more information about a transaction on your statement, write us an a separate sheet at the address shown cn the face of this statement as soon as possible. We
must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared. You can telephone us, but doing so will not preserve your rights.
In the letter, please give us the following information:
« Your name and account number.
« The dollar amount of the suspected error.
+ Describe the error and explain, if you can, why you believe there is an error. If you need more information, describe the item that you are not sure about. You do nat have to pay any amount
in question while we are investigating, but you ate still obligated to pay the parts of your bill that are not in question. While we are investigating your question, we cannot report you as
delinquent or take any action to collect the ameunt you question.

 

 
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Bei FINANCIAL GROUP

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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HALS REALTY ASSOCIATES LIMITED PARTNER
SHIP BANKRUPTCY DEBTOR IN POSSESSION
MICHAEL | GOLDBERG ts
CASE NO:20-13103-MAM ii
350 E LAS OLAS BLVD STE 1600
FT LAUDERDALE FL 33301-4247
Bankruptcy
Account Summary
Account: XXXXXXX1273 Beginning Balance: $243,534.94
Last Statement: September 30,2020 —_ Ending Balance: $1,460,361.75
This Statement: October 30,2020 Average Ledger Balance: $469,430.99
Low Balance: $269,815.77
Daily Activity
Date Description Deposits/ Withdrawals/ Balance
Additions Subtractions
09-30 Beginning balance 243,534.94
10-01 Deposit 26,280.83 269,815.77
10-13 Deposit 11,592.26 281,408.03
10-15 Quarterly Fee Payment 0000 975,00 280,433.03
10-15 Fla Dept Revenue CO1 157462262 7,407.73 273,025.30
10-15 Monthly Service Fee 81.25 272,944.05
10-22 Deposit 519,532.81 792,476.86
10-26 Check # 1009 15,11 792,461.75
10-26 Check #1008 32,100.00 760,361.75
10-29 Deposit 700,000.00 1,460,361,75
10-30 Ending totals 1,257,405.90 40,579.09 —_1,460,361,75
Checks
Number Date Amount Number Date Amount
1008 10-26 32,100.00 1009 10-26 ESvet

 

* Skip In Check Sequence

Continued on the next page

During this time of giving thanks,
we are grateful to count you among

our clients. Happy Thanksgiving
from your City National Bank family.

Pagg.22 of 22 Lof2
Account: XXXXXXX1273

Client Service

iy Online © CityTel
“.” citynational.com 1-800-762-CITY (2489)
—
A Your Banking Center Telephone
— Private Client Group 305-577-7336
P.O, Box 025620 800-435-8839

Miami, FL 33102-5620

Your Banking Center Hours
Lobby: Monday - Friday: 8:30am - 5:00pm

For additional locations Member (=?

and hours, please visit fOuk sO
citynational.com LENDER

N

  

Organize all of your
accounts in one place. |

Set up|a budget,

track spending, analyze
your spending trends,
calculate your net worth,
and more! Access
Money Management via
anline banking or call us
at (866) 262-3729.

 

Join us on
- social media!

 
